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 6
     Attorneys for Plaintiff
 7   SUZANNE NAPIER
 8
 9                        UNITED STATES DISTRICT COURT
10         CENTRAL DISTRICT OF CALIFORNIA- SOUTHERN DIVISION
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12
                                         Case No.: 8:17-cv-01127-AG-JCG
13
       SUZANNE NAPIER, an                Hon. Andrew J. Guilford
14    individual ,
15                                       NOTICE OF VOLUNTARY
       Plaintiff,                        DISMISSAL WITH PREJUDICE
16     v.                                PURSUANT TO FEDERAL RULE OF
17                                       CIVIL PROCEDURE 41(a)(1)(A)(i)
       BROWNIE LEE, an individual
18     dba, The Flame Broiler;           Complaint Filed: June 30, 2017
19     SHAPELL SOCAL RENTAL              Trial Date: None
20     PROPERTIES, LLC, a Delaware
       limited liability company; and
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       DOES 1-10, inclusive,
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23     Defendants,
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                    NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
Case 8:17-cv-01127-AG-JCG Document 21 Filed 10/26/17 Page 2 of 3 Page ID #:44
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 2         TO THE COURT AND ALL PARTIES:
 3         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
 4   Plaintiff Suzanne Napier (“Plaintiff”) requests that this Court enter a dismissal with
 5   prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety. Each
 6   party shall bear his or its own costs and attorneys’ expenses.
 7
 8
                                          Respectfully submitted,
 9
10                                        MANNING LAW, APC
      DATED : October 23, 2017
11                                        By: /s/ Joseph R. Manning, Jr.
12                                          Joseph R. Manning, Jr.
                                            Attorney for Plaintiff
13                                          SUZANNE NAPIER
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                NOTICE OF DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
Case 8:17-cv-01127-AG-JCG Document 21 Filed 10/26/17 Page 3 of 3 Page ID #:45
 1                             CERTIFICATE OF SERVICE
 2         I certify that on October 23, 2017, I electronically filed the foregoing
 3   document with the Clerk of the Court using CM/ECF. I also certify that the
 4   foregoing document is being served this day on counsel of record in this action via
 5   email transmission and via transmission of Electronic Filing generated by CM/ECF.
 6                                                 Respectfully submitted,
 7
     Dated: October 23, 2017                       MANNING LAW, APC
 8
 9
10
                                            By:    /s/ Jospeh R. Manning, Jr., Esq.
11                                                Joseph R. Manning, Jr., Esq.
12                                                 Attorney for Plaintiff,
                                                   SUZANNE NAPIER
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               NOTICE OF DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
